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                COMPOSITE
                   EXHIBIT 8
            (File Under Seal)
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                                                                           Page 1
 1                 UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF FLORIDA
 2
 3   JANE DOE NO. 2,                          Case No: 08-CV-80119
 4         Plaintiff,
 5   Vs
 6   JEFFREY EPSTEIN,
 7         Defendant.
                                I
 8
      JANE DOE NO. 3,                         Case NO: 08-CV-80232
 9
             Plaintiff,
10   Vs
11   JEFFREY EPSTEIN,
12         Defendant.
                                I
13
      JANE DOE NO. 4,                         Case No: 08-CV-80380
14
             Plaintiff,
15
     Vs.
16
      JEFFREY EPSTEIN,
17
             Defendant.
18                              I
19   JANE DOE NO. 5,                          Case No: 08-CV-80381
20         Plaintiff,
21   Vs
22   JEFFREY EPSTEIN,
23         Defendant.
                                I
24
25


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                                                Page 198                                                    Page 200
 1   that tape it's going to be Assistant Attorney          1   friends, I will say, yeah.
 2   Weiss and Detective Recarey asking questions?          2       Q. Then you mentioned that you typed into
 3      A. Yes.                                             3   Google, I guess you Googled Prince Andrew and Bill
 4      Q. It says, during the sworn taped statement        4   Clinton. Why would you pick those names, were
 5   Mr. Rodriguez stated he was employed by Jeffrey        5   they associated with Mr. Epstein?
 6   Epstein for approximately six months.                  6       A. Yes.
 7          I think we already talked about that.           7       Q. And what is your understanding as to how
 8   I'm skipping ahead a little bit.                       8   Prince Andrew is associated with Jeffrey Epstein?
 9          If Rodriguez needed to relay a message to       9       A. Because there were pictures with him
10   Epstein he would have to notify Epstein's             10   together.
11   secretary Lesley in New York who would then notify    11       Q. In the house?
12   Epstein's personal assistant Sarah who would relay    12       A. Yes.
13   the message to Epstein.                               13       Q. Many pictures or are we talking about
14      A. Yeah.                                           14   one?
15          MR. CRITTON: Form.                             15       A. Many pictures.
16   BY MR. EDWARDS:                                       16       Q. Were these pictures that looked that
17      Q. That's pretty much the process you              17   appeared to be at social events, at Mr. Epstein's
18   described?                                            18   house or where?
19      A. Yes, it was normal procedure.                   19       A. Mrs. Maxwell took him to England to
20      Q. Rodriguez stated Epstein did not want to        20   introduce him to the royalty.
21   see or hear the staff when he was in the              21       Q. Is it's your understanding that Ghislaine
22   residence?                                            22   Maxwell knew Prince Andrew and introduced --
23          MR. CRITTON: Form.                             23       A. Yes.
24          THE WITNESS: That's correct.                   24       Q. Is it also your understanding that at
25   BY MR. EDWARDS:                                       25   some point in time Ghislaine dated or had a

                                                Page 199                                                    Page 201
1       Q. That's something you agree with?                1    romantic relationship with Prince Andrew?
2       A. Yes.                                            2           MR. CRITTON: Form.
3          MR. CRITTON: Form.                              3          THE WITNESS: I don't know that.
4    BY MR. EDWARDS:                                        4   BY MR. EDWARDS:
 5      Q. Rodriguez advised Mr. Epstein had many           5      Q. Do you know around what time period it
 6   guests.                                                6   was that Mr. Epstein was introduced to Prince
 7         In addition to the girls who are roughly         7   Andrew?
 8   C. and T. age who had come to the house to have a      8      A. 2003, I believe.
 9   good time, who were some of the other guests that      9      Q. How do you know that?
10   you know of, if you know their name?                  10      A. I've heard dates.
11         MR. CRITTON: Form.                              11      Q. From people in the Epstein group?
12         THE WITNESS: I mentioned Alan                   12      A. Yes.
13       Dershowitz.                                       13      Q. Okay.
14   BY MR. EDWARDS:                                       14          MR. CRITTON: Let me note my objection,
15      Q. That's a lawyer from Harvard?                   15        move to strike, it's based on -- his
16      A. Yes. The magician, David Copperfield,           16       testimony is based on hearsay.
17   some other lawyers from New York, you know. There     17   BY MR. EDWARDS:
18   were some other guests.                               18      Q. During the six month period of time when
19      Q. And how frequently would these other            19   you worked directly for Mr. Epstein, how often did
20   guests come over?                                     20   Mr. Epstein get together with or hangout with
21      A. Once a month, something like that.              21   Prince Andrew; if you know?
22      Q. Okay. So if it's only once a month and          22      A. I didn't see him once.
23   you were only there six months you're saying you      23      Q. You never saw Prince Andrew at the house?
24   only saw six guests come over in addition to --       24      A. No, no, he called.
25      A. They have people, you know, they have           25      Q. I'm sorry, how often would he call?

                                                                                               51 (Pages 198 to 201)
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                                                                                         Page 270
       1               UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
       2
       3   JANE DOE NO. 2'                    CASE NO: 08-CV-80119
       4         Plaintiff,
       5   Vs.
       6   JEFFREY EPSTEIN,
       7         Defendant.
                                     I
       8
           JANE DOE NO. 3'                    CASE NO: 08-CV-80232
       9
                 Plaintiff,
      10
           Vs.                                                       CONDENSED
      11
           JEFFREY EPSTEIN,
      12
                 Defendant.
      13                                 I
 , 14      JANE DOE NO. 4,                    CASE NO: 08-CV-80380
      15         Plaintiff,
      16   Vs.
      17   JEFFREY EPSTEIN,
      18         Defendant.
                                    I
      19
           JANE DOE NO. 5,                    CASE NO: 08-CV-80381
      20
                 Plaintiff,
      21
           vs
      22
           JEFFREY EPSTEIN,
      23
                 Defendant.
      24                            I
      25
I "



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                                                                           NON PARTY (VR) 000315




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                                                                  Page 275                                                        Page 277
 1   APPEARANCES:                                                             1    Deposition taken before MICHELLE PAYNE, Court
 2
 3              RICHARD WILLITS, ESQ.                                         2    Reporter and Notary Public in and for the State of
                2290 10th AVenue North                                        3    Florida at Large, in the above cause.
 4              Suite 404                                                     4
                Lake Worth, Florida 33461
 5              Attorney for C.M.A.                                           5          THE VIDEOGRAPHER: This is a continuation
                Appeared via telephone.                                       6        of the deposition of Alfredo Rodriguez.
 6                                                                            7        Today is Friday, August the 7th, the year
 7
                BURMAN, CRITTON, LlJTTIER &                                   8        2009, starting time approximately 1:15 p.m.
 8              COLEMAN, LLP                                                  9          Will the court reporter please swear in
                BY: ROBERT CRITTON, ESQ.
 9              515 North Flagler Drive
                                                                             10        the witness?
                Suite 400                                                    11    Thereupon,
10              West Palm Beach, Florida 33401                               12                 ALFREDO RODRIGUEZ,
                Attorney for Jeffrey Epstein.
11
                                                                             13    having been first duly sworn or affirmed, was
12                                                                           14    examined and testified as follows:
13   ALSO PRESENT:                                                           15           MR. CRITTON: Before we get started just
14
        JOE LANGSAM, VIDEOGRAPHER                                            16        with regard to Ms. Ezell represents Jane Doe
15                                                                           17        101 and 102, the alleged time of her
16                                                                           18        incidents as of least have been plead in the
17                                                                           19        complaint for 101 is '99 -- I'm sorry, '98
18                                                                           20        through 2002, with Jane Doe 102 the Spring
19                                                                           21        of -- Spring/Summer of 2003. Mr. Rodriguez
20
21                                                                           22        never even began employment until '04 and
22                                                                           23        '05. I think her questioning I think -- I
23                                                                           24        can't say she doesn't have standing based on
24
25                                                                           25        the court order, but I would say it's

                                                                  Page 276                                                        Page 278
 1          CONTINUED INDEX OF EXAMINATION                                    1         completely irrelevant and immaterial and has
 2
     WITNESS            DIRECT CROSS REDIRECT RECROSS
                                                                              2         no probative value with regard to this
 3                                                                            3         particular witness based upon the two
     ALFREDO RODRIGUEZ                                                        4         clients at least that are in suit at this
4
     (By Ms. Ezell)     278         441,467
                                                                              5         point in time.
 s                                                                            6            MS. EZELL: As Mr. Critton well knows I
     (By Mr. Willits)   334         453,469                                   7         represent a number of other clients whose
 6
     (By Mr. Critton)         338             464
                                                                              8         cases have not been filed and I believe we
7                                                                             9         do have standing to ask questions, and I do
     (By Mr. Edwards)               419, 454, 468                            10         intend to do that today.
8
     (By Mr. Langino)               452
                                                                             11                     EXAMINATION
 9                                                                           12    BY MS. EZELL:
10                                                                           13        Q. Mr. Rodriguez, you stated last time that
11                                                                           14    there were guests at the house, frequent guests,
12           CONTINUED INDEX OF EXHIBITS
13   PLAINTIFF'S            PAGE                                             15    friends from Harvard.
14   3 Drawing             315                                               16            Do you remember that testimony?
i6 5 Photo9raph                   331
                                                                             J./
                                                                             18
                                                                                     /-\ ,   1'--'t IIIQQIII,

                                                                                      Q. And was there a lawyer from Harvard named
17   6 Photograph                 331
18   7 Photograph                 331                                        19    Alan Dershowitz?
19   8 Photograph                 331                                        20       A. Yes, ma'am.
20   9 Report                   446
21   (Exhibits 4, 5, 6, 7, and 8 were retained by Ms.                        21       Q. And are you familiar with the fact that
     Ezell.)                                                                 22    he's a famous author and famous lawyer?
22                                                                           23       A. Yes, ma'am.
23
24                                                                           24       Q. How often during the six months or so
25                                                                           25    that you were there was Mr. Dershowitz there?

                                                                                                                       3 (Pages 275 to 278)
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                                                                                                                NON PARTY (VR) 000317




                                                                                                                                       GIUFFRE00 1006
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                                                         Page 279                                                       Page 281
        1       A.   Two or three times.                             1     Q.     Can you tell me where those were?
        2        Q. And did you have any knowledge of why he         2       A. One in the kitchen, and the one in the
/       3    was visiting there?                                     3   formal -- the main entrance. And there was one
        4       A. No, ma'am.                                        4   more added later on, but there is two when I was
        5       Q. You don't know whether or not he was a            5   working there .
        6    lawyer -- acting as a lawyer or whether he was          6       Q. Could you just give me a rough sketch of
        7    there as a friend?                                      7   the house of where the main entrance was and where
        8       A. I believe as a friend.                            8   the kitchen was?
        9       Q. Were there also young ladies in the house         9       A. I'm not an architect but it's something
       10    at the time he was there?                              10   like this. This is the kitchen, this is the main
       11           MR. CRITTON : Form .                            11   entrance.
       12           THE WITNESS: Yes, ma'am.                        12       Q. Will you mark the kitchen with a K,
       13    BY MS. EZELL:                                          13   please, and the main entrance with ME?
       14       Q. And would those have included, for               14       A. This is the pool.
       15    instance, Sarah Kellen and Nadia Marcenacova?          15       Q. The pool?
       16       A. Yes, ma'am.                                      16      A. Yes, ma'am.
       17       Q. Were there other young ladies there when         17       Q. And in the upper left?
       18    Mr. Dershowitz was there?                              18      A. In the terrace, yeah, there was a balcony
       19           MR. CRITTON: Form.                              19   here.
       20           THE WITNESS: Yes, ma'am.                        20      Q. And where were the staircases?
       21    BY MS. EZELL:                                          21      A. This is one, the kitchen, one in the
       22       Q. Do you have any idea who those young             22   foyer, and the pool.
       23    women were?                                            23      Q. Okay. And would you just put an F where
       24       A. No, ma'am.                                       24   the foyer staircase began? And KS where the
       25       Q. Were any of those the young women that           25   kitchen staircase began.

                                                         Page 280                                                      Page 282
         1   you have said came to give massages?                    1         And you said that later another staircase
    --- 2       A. Yes, ma'am.                                       2   was added?
         3      Q. And do you have any idea whether or not           3      A. Yeah, we rehabilitated this, you know,
         4   Mr. Dershowitz was also receiving massages?             4   but you asked me how many stairs there were, to
         5      A. I don't know, Ma'am.                              5   answer your question there were three.
         6      Q. I want to ask you to take this piece of           6      Q. Three. So where was the third one?
         7   paper, please, and a pencil --                          7      A. The pool, this leads to the pool.
         8          MR. WILLITS: Can anybody hear me?                8   Through the outside master bedroom you could go
         9          MS. EZELL: Yes. Can you hear me?                 9   downstairs to the pool.
        10          MR. WILLITS: I've heard nothing for             10      Q. Okay. A stairway then from the outside,
        11       about a minute or so.                              11   from outside the master bedroom?
        12          MR. CRITTON: Can you hear me now?               12      A. Yes, ma'am.
        13          MR. WILLITS: Yes.                               13      Q. Down to the pool?
        14          MS. EZELL: I'm asking questions, I'm            14      A. Yes, ma'am.
        15       sorry.                                             15      Q. One of your duties was to answer the
        16          MR. CRITTON: Why don't we go off the            16   door. Is that correct?
        17        recora ror a secona.                              1/     1-\,   ic:,1 11 1aa111.

        18          (Thereupon, a discussion was held off the       18     Q.   Which door would you answer?
        19   record.)                                               19      A. Mainly the kitchen.
        20          THE VIDEOGRAPHER: We're back on the             20      Q. And why was that, why would people mainly
        21        record.                                           21   come to the kitchen?
        22   BY MS. EZELL:                                          22      A. I'll say it was for practicable reasons
        23      Q. Mr. Rodriguez, you indicated that there          23   because not to go to the main -- it was shorter
        24   were several staircases in the house?                  24   because the entrance was here, so this was the
        25      A. Yes, ma'am.                                      25   driveway and we used to take into the back door of

                                                                                                            4 (Pages 279 to 282)
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                                                                                                     NON PARTY (VR) 000318




                                                                                                                           GIUFFRE00 1007
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                                                                           Page 423                                                                                                              Page 425
         1    York house?                                                              1          Q.And is your understanding that Mr.
         2       A. He will have massages.                                             2    Epstein was intimate with any of those girls?
    ;
         3           MR. CRITTON: Form.                                                3           MR. CRITTON: Form.
         4    BY MR. EDWARDS:                                                          4           THE WITNESS: Yes.
         5       Q. And are we still talking about a habit of                          5    BY MR. EDWARDS :
         6    two a day?                                                               6       Q. With all of them?
         7           MR. CRITTON: Form.                                                7           MR. CRITTON: Form.
         8           THE WITNESS: I don't know that.                                   8           THE WITNESS: Yes.
         9    BY MR. EDWARDS:                                                          9    BY MR. EDWARDS:
        10       Q. Okay. So for the time period when you                             10       Q. With Sarah as well?
        11    have been familiar with Mr. Epstein and known his                       11       A. Yes.
        12    habits, is it fair to say that he would have                            12           MR. CRITTON: Form.
        13    roughly two girls a day in that same age group                          13    BY MR. EDWARDS:
                                                                                                         Jane Doe 2
        14    wherever he was?                                                        14       Q. With-?
        15       A. Yes.                                                              15       A. Yes.
        16           MR. CRITTON : Form.                                              16           MR. CRITTON: Form.
        17    BY MR. EDWARDS:                                                         17    BY MR. EDWARDS:
        18       Q. All right. And have you talked to                                 18       Q. And the girls who would come over on the
        19
        20
        21
              anybody that has given you similar information
              from his Island home?
                 A. No.
                                                                                      19
                                                                                      20
                                                                                      21
                                                                                            airplane?
                                                                                                   MR. CRITTON: Form.
                                                                                                   THE WITNESS: Yes.
                                                                                                                                                                                                            I
        22       Q. Do you know any of the girls that have                            22    BY MR. EDWARDS:
        23    been over to his Island?                                                23       Q. Did you ever have occasion to go into the
        24
        25
                 A. Yes.
                 Q. And who are they?
                                                                                      24
                                                                                      25
                                                                                            bedroom and find the vibrators or back massagers
                                                                                            out after Mr. Epstein was in the room with any of                                                               I
                                                                           Page 424                                                                                                              Page 426 1
(        1       A.   Nadia, the girls who used to stay at the                         1    the girls that came over on the plane?
         2    home in El Brillo used to go over there to the                           2            MR. CRITTON: Form .
         3    Island.                                                                  3            THE WITNESS: Yes.
         4       Q. When he would have these girls -- I guess                          4    BY MR. EDWARDS:
         5    we've kind of categorized them as the girls who                          5        Q. So that's something that would be out
         6    would come over with him on an airplane and stay                         6    after the girls that came over on the plane or the
         7    at the house.                                                            7    girls that came over for the massages?
         8       A. Yes.                                                               8        A. Yes.
         9       Q. When they would be staying at the house                            9            MR. CRITTON : Form .
        10    would he also have the local Palm Beach girls                           10    BY MR. EDWARDS :
        11    coming over that you were told to call masseuses?                       11        Q. And at the time when you were house
        12       A. Yes.                                                              12    manager you had a 15-year old daughter?
        13       Q. So these girls that came on the airplane                          13        A. Yes.
        14    with him, were they also -- did they also have                          14        Q. Did she live down here?
        15    knowledge that these young girls were coming over                       15        A. In New Jersey.
        16
        it
              to give massages?
                      ·11, .   _ ,,.a. I 1 -   •   -
                                                   V   11,,
                                                                                      16
                                                                                      ·~
                                                                                      ,.,   , .... w ... ""
                                                                                                              .
                                                                                                Q. Okay. When Alan Dershowitz was at the
                                                                                                              .l   u1, .... _,.., ....... "" .... , ..................... ,   ............ , -

        18           THE WITNESS: Yes, sir.                                           18    Palm Beach girls would come over to the house
        19    BY MR. EDWARDS:                                                         19    while he was there but you're not sure if he had a
        20       Q. Okay. Who are the girls from the                                  20    massage from any of those girls.
                                  Jane Doe 2
        21    airplane other than -          that you remember?                       21       A. Exactly.
        22       A. Sarah . There were so many, sir, I don't                          22       Q. And what would he do while those girls
                                                         Jane Doe 2
        23    recall right now. But Sarah is for sure, -                              23    were at the house?
        24    was one of the main girlfriends, but I don't                            24          MR. CRITTON : Form.
        25    remember that.                                                          25          THE WITNESS : He will read a book with a
I
                                                                                                                                                                                40 (Pages 423 to 426)
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                                                                                                                                                            NON PARTY (VR) 000354




                                                                                                                                                                                                       GIUFFRE00 1044
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                                                       Page 427                                                     Page 429
      1        glass of wine by the pool, stay inside.             1   usually it's Yahoo dot com or at Bellsouth dot
      2    BY MR. EDWARDS:                                         2   net.
      3      Q. Did he ever talk to any of the girls'              3       A. It was very uncommon. I don't remember,
     4       A. I don't know, sir.                                 4   sir.
      5      Q. Certainly he knew that they were there?            5       Q. Did everybody in the -· I think you
     6           MR. CRITTON: Form.                                6   called it the organization, did everybody have
     7           THE WITNESS: I don't know, sir.                   7   e-mails?
     8    BY MR. EDWARDS:                                          8       A. Yes.
     9       Q. Do you know how Sarah Kellen knows Mr.             9       Q. Okay. Would that include Nadia?
    10    Epstein?                                                10       A.. Yes.
    11       A. No, sir.                                          11       Q. All right. And did Mr. Epstein have an
    12       Q. Or how long she's known him?                      12   e-mail?
    13           MR. CRITTON: Form.                               13       A. Yes.
    14           THE WITNESS: She was on board two years          14       Q. Did you ever correspond with Mr. Epstein
    15         or a year and a half before I came on board.       15   by e-mail?
    16    BY MR. EDWARDS:                                         16       A. Yes.
    17       Q. Okay.                                             17           MR. EDWARDS: You can go ahead.
    18       A. So it's probably 2003 or 2.                       18           THE WITNESS: That's the only one that I
    19       Q. All right. You mentioned this Citrix              19        remember.
    20    system.                                                 20           THE VIDEOGRAPHER: Okay, we're off the
    21       A. Yes.                                              21        record.
    22       Q. Is that a system that was used to operate         22           (Thereupon, a recess was had.)
    23    the phones and the computers?                           23           THE VIDEOGRAPHER: We're back on the
    24       A. The computers mainly.                             24        record with tape number four.
    25       Q. All right. But you then also described            25   BY MR. EDWARDS:

                                                       Page 428                                                    Page 430    l
(    1    some system where someone would call on the              1     Q. Mr. Rodriguez, what was Mr. Epstein's
     2    telephone and that would be automatically                2   e-mail?
     3    downloaded to the computer?                              3       A. Jeep project at something -- Jeep
     4       A. Yeah, you can retrieve who called in a             4   project •· I can't remember it right now.
     5    transcript written who called, what's the message,       5       Q. Okay. In the course of this next 10 or
     6    the time so you have it on a piece of paper, you         6   15 minutes ••
     7    can print it out.                                        7       A. I can recall.
     8       Q. Is it your understanding that is also              8       Q. -- if it comes to you just tell me. So
     9    part of the Cltrix system?                               9   it was Jeep project ••
    10       A. Yes.                                              10       A. Like Jeep, the brand name Jeep, Jeep
    11       Q. AH right. Did you have an e-maif?                 11   project at -· I can't remember.
    12       A. Right now, yes.                                   12       Q. Okay. Was that his only e-mail to your
    13       Q. No, when you were working at · ·                  13   knowledge?
    14       A. Yes, I did.                                       14       A. No.
    15       Q. ·- Mr. Epstein?                                   15       Q. He had other e-mail addresses?
                                                                          A   '\.,I _ _
    J.O

    17      A. Yes.                                               17      Q. Do you know what any of his other e-mail
    18      Q.  And did all of the e-mails end the same           18   addresses were?
    19    way such as Epstein's house dot com or something?       19      A. No, I don't remember.
    20      A. Yes.                                               20      Q. Do you know who the carriers were for the
    21      Q. Okay. What was Sarah Kellen's e-mail?              21   other e-mail addresses owned by Jeffrey Epstein?
    22      A. I don't remember.                                  22      A. No, sir.
    23      Q. What was your e-mail?                              23      Q. Whether it was Yahoo or hot mail or -·
    24      A. Staff house •• I don't remember, sir.              24      A. No, none of those.
    25      Q. Do you recall how it ended? I mean                 25      Q. Okay. Was this Jeep project e-mail run

                                                                                                      41 (Pages 427 to 430)
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